                         EXHIBIT

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                  UNITED STATES DISTRICT COURT FOR
                THE MIDDLE DISTRICT OF NORTH CAROLINA


 STUDENTS FOR FAIR ADMISSIONS,
 INC,

              Plaintiff,

              v.                                Civil Action No. 1:14-cv-954-LCB-JLW

 THE UNIVERSITY OF NORTH
 CAROLINA AT CHAPEL HILL, et al.,

              Defendants.



               DECLARATION OF ANDREW EDWARD BRENNEN

      Andrew Brennen, pursuant to 28 U.S.C. § 1746, declares the following:

      1.     My name is Andrew Edward Brennen, I am over 18 years of age, and I am

fully competent to make this declaration.

      2.     I am a full-time undergraduate student at UNC-Chapel Hill (“Carolina”). I

am a sophomore and am pursuing a major in Political Science and a minor in Philosophy,

Politics, and Economics (PPE).

      3.     I am African American.

      4.     There were several factors which contributed to my decision to attend

Carolina ranging from my personal academic interests to financial considerations. I

applied to over a dozen schools, public and private, throughout the United States. When

considering various schools, I focused on three central questions: 1) Does the school


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have financial aid which I can qualify for? 2) Does the school have political science

opportunities which I can take advantage of to bolster my education outside of the

classroom? 3) Does the school feature a diverse student body like those which I have

become accustomed to after 13 years in public school?

       5.     Though not decisive, financial aid was important to me. My family was not

poor. However, like many folks in the middle class, they were not in a position to spend

hundreds of thousands of dollars on college expenses. I was also averse to taking on

massive student loans like both my parents did in order to afford college. Luckily, many

colleges and universities offer merit scholarships and because of my high school grades

and extracurricular activities I was confident that I could qualify for one. Ultimately, I

received several scholarship offers from various universities. They ranged in scope and

value but the offer from the Robertson Scholars Program at UNC Chapel Hill was by far

the most attractive. But the scholarship alone wasn’t enough for me to decide to attend

Carolina, I had one other consideration to make.

       6.     I have always learned best outside the classroom. Whether that meant

speech and debate my sophomore year of high school or starting my own education

advocacy group my junior year; my most formative educational experiences have

occurred in non-traditional settings. When considering UNC, I closely examined what

types of opportunities the community provided to get involved outside of classes.

       7.     There were two things that stuck out. The first was Student Government.

UNC has one of the most robust systems of student self-governance in the country. In




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the context of much of my high school advocacy being around “student voice,” this was

appealing.

       8.     Second, it was important to me that UNC was a public school, and by

extension a diverse community. While gaining a full understanding of what diversity at

UNC was like before being on campus was challenging, there were several indicators that

presented clues. First, I was impressed by UNC’s robust need-based financial aid.

Having studied college access pretty extensively in high school, I deeply understood the

effect programs like the Carolina Covenant had on breaking down barriers to entry

presented to students from low socio-economic families. But there was also a flip side.

The data on the University’s own website seemed to indicate a remarkably low number of

African American males were admitted to the University each year. In other words, a

remarkably low number of people that looked like me.

       9.     Taking all of these factors together and weighing them against other

options including Yale, Vanderbilt, UVA, and Wake Forest, I decided to attend UNC

Chapel Hill. It was impossible for me to know how any of my preconceived notions

about the school would play out once I was actually on campus but I was looking forward

to the adventure.

       10.    I believe my background enables me to offer unique perspectives and

cultural experiences in my academic and campus activities. My family and I moved five

times before I graduated high school. We lived in New York, Virginia, Georgia,

Maryland, and Kentucky, all due to my dad’s career. Constantly moving had its positives




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and negatives. On the one hand, I was able to constantly enjoy new experiences that

most of my peers did not. On the other hand, my “peers” changed constantly and

building long-term friendships was difficult. In the places my family spent the most time,

we were among the only African Americans in our community.

       11.    Between the 6 years spent in rural Georgia and the 6 years spent in

Kentucky, I am no stranger to the implications of being black in spaces dominated by

white people. Sometimes, these implications play out in harmless ways, like how my

friends are always taken aback by the prominence of black Santa Clauses in my house

during Christmas. Sometimes they play out in more insidious ways, like how I have been

accused of “acting white” by my classmates because of my willingness to speak up in

class and the ease with which I grasped the material. Both of these examples along with

countless others contributed to an early understanding between my two brothers and I

that the color of our skin mattered in a way different than it did to our white classmates.

       12.    My junior year of high school I came out to my family and friends as gay. I

was always confused as to why “coming out” was necessary—however living in the

south, I was no stranger to the bullying and abuse members of the LGBT community

often face. I knew from the beginning that my family and friends would accept me for

who I was and that made coming out easy. I was less sure about members of my broader

community but that was a challenge I had prepared myself to face. A challenge I was not

prepared to face, however, was the number of fellow queer youth who were not as lucky

as I was and did not have a supportive family. I’ve had dozens of LGBT kids reach out




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looking for guidance, support or sometimes just someone to talk to. I tried to do the best

I could but sometimes these conversations were overwhelming. They felt isolated and

afraid and unfortunately, they were right to feel that way.

       13.    I bring all of these experiences and perspectives to Carolina with me. They

inform how I answer questions in class, who I choose to hang out with, what types of

activities I participate in or don’t, what is included in my social life, and how the people

around me experience college.

       14.    I believe the benefits of racial or ethnic diversity play an important role in a

number of academic and campus activities that affect my undergraduate experience,

including lectures, seminars, residential life, student government, communities of faith,

extracurricular activities and community service programs. In particular, I have been

involved with Student Government and The Inter-Fraternity Council. These activities

benefit enormously from racial and ethnic diversity and by the membership of people

with different backgrounds.

       15.    I currently experience academic and personal benefits from UNC-Chapel

Hill’s racially diverse student body. As I mentioned above, the diversity of the student

body was one of the main factors in my decision to attend the University. My exposure to

communities different from my own has led to countless instances of personal growth.

For example, after being exposed to the fraternity system firsthand, I better understand

the controversy surrounding its historical legacy. After participating in a vigil on campus

following the murder of three Muslim students, I better understand the way islamophobia




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plays out for members of the Carolina community. And after serving on several

University committees focused on sexual assault prevention, I have a better

understanding of the factors that play into gender-based sexual violence, especially

among women of color. These examples are not exhaustive. But they do provide small

insight into the value that being on a diverse campus has had on my college experience

thus far.

       16.    I believe my education would be harmed if UNC-Chapel Hill stopped

considering race in its admission decisions. The current policy facilitates the admission of

strong African American students, which improves my educational experience by

allowing me to learn alongside a greater number of African American students so that I

do not feel singled out as a spokesperson for my race. The policy likewise facilitates the

admission of underrepresented minority students with racial or ethnic backgrounds

different from my own and from whom I feel I learn both inside and outside the

classroom.

       17.    I want to learn and live alongside students who are each a part of a critical

mass of their race/ethnicity. To facilitate that, I would like to see an increase in the

number and diversity of underrepresented racial groups admitted to UNC-Chapel Hill.

Often times, I will be among the only African American students in my classes or study

groups. On the whole, this doesn’t bother me—however, there have been instances

where this reality led to uncomfortable encounters. One notable instance is when a

student in one of my classes implied that, due to affirmative action, it is hard to know




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whether African American students at the University “deserve” to be there. No fewer

than six sets of eyes in the classroom turned to me to respond. I was speechless in the

moment and felt like I failed to come to the proper defense of my fellow students of

color.

         18.    Racial issues are often a topic of conversation at the University because

every issue from my perspective is a racial one. When discussing sexual assault I’m

immediately drawn to the disaggregated data by race. When discussing admissions or

retention policy, I am immediately drawn to subgroups. When attending parties, I always

notice when I am the only one of color. Every issue is a racial issue.




         I declare under penalty of perjury that the foregoing is true and correct. Executed

    3             April
this ____ day of _______, 2017.



                                            ____________________________________
                                            Andrew Brennen




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